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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

                                                    :
Tanya Rosales,                                      :
                                                    : Civil Action No.: ______
                        Plaintiff,                  :
        v.                                          :
                                                    :
Credit Acceptance Corporation,                      : DEMAND FOR JURY TRIAL
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

                                COMPLAINT & JURY DEMAND

        For this Complaint, the Plaintiff, Tanya Rosales, by undersigned counsel, states as

follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business here, Plaintiff resides in this judicial district, and a substantial portion of the

acts giving rise to this action occurred here.

                                              PARTIES

        4.      The Plaintiff, Tanya Rosales (“Plaintiff”), is an adult individual residing in

Columbus, Ohio, and is a “person” as defined by 47 U.S.C. § 153(39).

        5.      Defendant Credit Acceptance Corporation (“Credit”), is a Michigan business

entity with an address of 25505 West Twelve Mile Road, Suite 3000 Southfield, Michigan

48034-8339, and is a “person” as defined by 47 U.S.C. § 153(39).
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       6.      Credit at all times acted by and through one or more of the agents.

                                               FACTS

       7.      Within the last four years, Credit contacted Plaintiff in an attempt to collect a debt

allegedly owed by Plaintiff.

       8.      At all times mentioned herein, Credit called Plaintiff using an automated

telephone dialer system (“ATDS” or “predictive dialer”) and/or by using an artificial or

prerecorded voice.

       9.      When Plaintiff answered Credit’s calls, she would hear a prerecorded message

which stated that the call was from Credit, and asked Plaintiff to call Credit back at a number it

provided.

       10.     Frustrated with the excessive amount of ATDS calls she was receiving, during the

month of October, 2013, Plaintiff called Credit back at the number provided in the prerecorded

message, in order to speak with a live representative. During their conversation, Plaintiff

requested that Credit cease calling her cellular phone attempting to collect.

       11.     In violation of Plaintiff’s request, Credit continued to harass her with ATDS calls

at a rate of over one hundred calls since Plaintiff’s original request for the calls to cease, which

caused Plaintiff much anxiety and inconvenience.

                                             COUNT I

       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       12.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.
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        13.       Defendant contacted Plaintiff using an automatic telephone dialing system and/or

by using a prerecorded or artificial message to her cellular telephone in violation of 47 U.S.C. §

227(b)(1)(A)(iii).

        14.       In the event that Defendant at one time had permission to contact Plaintiff on her

cellular phone, Plaintiff since revoked her consent to be contacted by her demand to cease calling

her cellular telephone.

        15.       The telephone number called by Credit was assigned to a cellular telephone

service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

        16.       The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

        17.       Each of the aforementioned calls made by Defendant constitutes a negligent or

intentional violation of the TCPA, including each of the aforementioned provisions of 47 U.S.C.

§ 227, et. seq.

        18.       As a result of each of Defendant’s negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

        19.       As a result of each of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                      PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

                     1. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C); and

                     2. Such other and further relief as may be just and proper.

                       TRIAL BY JURY DEMANDED ON ALL COUNTS
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Dated: March 3, 2014


                                  Respectfully submitted,

                                  By: /s/ Sergei Lemberg, Esq.
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